
*1251ORDER
Considering this Court’s Order of January 5, 2001 Rejecting Consent Discipline and the Subsequent Joint Stipulation of Submission filed by Respondent and the Office of Disciplinary Counsel,
IT IS ORDERED that the parties be allowed to waive the presentation of formal charges and the submission of the matter to the hearing committee and disciplinary board,
IT IS FURTHER ORDERED that the parties be allowed to submit this matter for unfettered decision on the merits and imposition of sanctions by this court, following submission of briefs and oral argument.
TRAYLOR, J., dissents.
/s/ Harry T. Lemmon
Justice, Supreme Court of Louisiana
